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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 GARY RIHN &                                    )
 BONITA RIHN,                                   )
                                                )
                 Plaintiffs,                    )
 v.                                             )      Case No. 4:07CV00197ERW
                                                )
 TYOKA JACKSON                                  )
                                                )
                 Defendant.                     )

              PLAINTIFFS’ SECOND MOTION IN LIMINE TO EXCLUDE
          1) ANY STATEMENTS, QUESTIONS, EVIDENCE OR ARGUMENT
      CONCERNING PLAINTIFFS’ EXERCISE OF THEIR LEGAL RIGHTS AND
      2) ANY ATTEMPT TO ELICIT IMPROPER OPINION TESTIMONY FROM
        DR. ARONOV CONCERNING THE CREDIBILITY OF PLAINTIFFS OR
                             “SECONDARY GAIN”

         COME NOW Plaintiffs Gary Rihn and Bonita Rihn, and for their Second Motion

 in Limine to Exclude 1) Any Statements, Questions, Evidence or Argument Concerning

 Plaintiffs’ Exercise of Their Legal Rights and 2) Any Attempt to Elicit Improper Opinion

 Testimony from Dr. Aronov Concerning the Credibility of Plaintiffs or “Secondary

 Gain”, states as follows:

         1.      Plaintiffs anticipate that counsel for defendant will offer statements and

 argument at trial suggesting that plaintiffs have brought the present suit solely because of

 Mr. Jackson’s minor celebrity as a professional football player. Plaintiffs anticipate that

 defendant intends to question Plaintiffs concerning their use of the legal system,

 including questions concerning when Plaintiffs retained their attorneys. Similarly,

 Plaintiffs expect that counsel for Defendant will question Mr. Rihn’s treating physician

 Dr. Aronov concerning “secondary gain” or “litigation syndrome,” as part of Defendant’s

 attack on the credibility of plaintiffs.


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         2.     Courts have consistently held that accessing the legal system is not to be

 discouraged, and exercising one’s right to utilize the legal system within established rules

 and procedures should not be used to attempt to discredit a litigant with a jury. As set

 forth at length in Plaintiff’s Memorandum in Support, attached hereto, both Defendant’s

 attacks on Plaintiffs’ use of the legal system and Defendant’s “secondary gain” strategy

 are improper as a matter of law, and the Court should exclude all such questions,

 statements and argument by counsel for Defendant.

         3.     In support of their motion, Plaintiffs incorporate by reference their

 Memorandum in Support, filed herewith.

         WHEREFORE, Plaintiffs respectfully request that the Court enter an Order

 precluding the Defendant from introducing any expert testimony or opinions concerning

 the credibility of Plaintiffs or any other witnesses, from making any comments or

 argument to the jury concerning “secondary gain”, or otherwise attempting to discredit

 plaintiffs for exercising their right to utilize the judicial system to seek recovery for their

 injuries.

                                                        DOWD & DOWD, P.C.


                                                BY:     /s/ Douglas P. Dowd
                                                        DOUGLAS P. DOWD (29240)
                                                        Attorneys for Plaintiffs
                                                        100 North Broadway, Suite 1600
                                                        St. Louis, Missouri 63102
                                                        314/621-2500 Fax, 314/621-2503




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                            CERTIFICATE OF SERVICE

        A copy of the foregoing was served by operation of the Court’s electronic filing
 system this 10th day of March, 2008 to Mr. Thomas Magee, Attorneys for Defendant,
 Moser & Marsalek, P.C., 200 North Broadway, Suite 700, St. Louis, Missouri 63102,
 314-421-5640 (fax) and N. Scott Rosenblum, Rosenblum, Schwarts & Rogers, P.C., 120
 South Central Avenue, Suite 1550, Clayton, Missouri 63105, 314-862-8050 (fax).

                                                    /s/ Douglas P. Dowd
                                                    DOUGLAS P. DOWD




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